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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

IN RE CLASSICSTAR MARE LEASE          )
LITIGATION                            )            MDL No. 1877
                                      )
                                      )           Master File:
                                      )   Civil Action No. 07-353-JMH
                                      )
                                      )           5:06-cv-243-JMH
                                      )           5:07-cv-347-JMH
                                      )           5:07-cv-348-JMH
                                      )           5:07-cv-349-JMH
                                      )           5:07-cv-351-JMH
                                      )           5:07-cv-352-JMH
                                      )           5:07-cv-419-JMH
                                      )            5:08-cv-17-JMH
                                      )            5:08-cv-53-JMH
                                      )            5:08-cv-60-JMH
                                      )            5:08-cv-74-JMH
                                      )           5:08-cv-321-JMH
                                      )           5:08-cv-418-JMH
                                      )           5:08-cv-496-JMH
                                      )            5:09-cv-15-JMH
                                      )           5:09-cv-167-JMH
                                      )
                                      )
                                      )    MEMORANDUM OPINION & ORDER
                                      )
                                      )



                                *** *** ***

      This matter is before the Court upon the Plaintiffs’ Motion

for Sanctions Against GeoStar and Defendants S. David Plummer II,

Spencer D. Plummer, III, Strategic Opportunity Solutions, LLC d/b/a

Buffalo    Ranch,    and    Zeus    Investments,      LLC’s    (hereinafter,

collectively, “the Plummer parties”) Limited Joinder in that Motion

for Sanctions Against GeoStar and Request for Additional Sanctions
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filed in the various cases listed in the caption above.1              GeoStar

has responded with respect to both motions, and the Movants have

replied in further support of their motions. Having considered the

motions, the Court grants the requests for relief, and sanctions

are entered as set forth below.

      These parties request an award of sanctions restricting the

use of GeoStar’s deposition testimony due to the failure of

GeoStar’s designated witness to appear for the second and third

days of GeoStar’s deposition.          The designee’s failure to appear

meant that Plaintiffs were unable to conclude questioning directed

to GeoStar and that the Plummer parties never had an opportunity to

cross-examine GeoStar’s designated witness on that testimony which

was elicited through questioning by Plaintiffs’ counsel on the

first day of the deposition. The failure to appear for questioning

has, according to these parties, prejudiced their ability to gather

evidence in support of their own claims and cross-claims against

GeoStar, defend against GeoStar’s cross- and third-party claims in

the various suits, as well as the Plummer parties’ ability to

cross-examine GeoStar’s designee about that testimony which could

be construed as being offered against the Plummers during the first

day of the deposition.       Plaintiffs and the moving Defendants seek

to have certain facts deemed established and to restrict the use of



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      The location of these motions in the various records are set
forth, by docket entry number, in the order language, below.

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what limited deposition testimony GeoStar’s designated witness

offered without examination by all interested parties on the first

day of the scheduled three day deposition.

      Pursuant    to   Fed.   R.   Civ.    P.    30(b)(6),      GeoStar   had    an

obligation to designate one or more witnesses to appear on its

behalf at a deposition noticed by Plaintiffs and as ordered by this

Court, as well as to prepare that witness to testify regarding

GeoStar’s position on the topics included in the notice – here

someone with knowledge of corporate documents.                    A failure to

provide    an    adequately    prepared         and   willing     designee      is,

essentially, a failure to appear.           See Black Horse Lane Assoc.,

L.P. v. Dow Chem. Corp., 228 F.3d 275, 304 (3d Cir. 2000).                In such

a situation, Fed. R. Civ. P. 37(d) authorizes the Court to impose

sanctions on a corporate party, directing that certain facts be

deemed    established    or   prohibiting       the   party   from   presenting

evidence or opposing certain claims. Rule 37 puts no limits on who

may move for sanctions, and, thus, the Court concludes that both

the party who noticed the depositions and others that might have

questioned the designee at a noticed deposition may seek sanctions.

See Payne v. Exxon Corp., 121 F.3d 503, 509-10 (9th Cir. 1997).                  In

this way, the Court can prevent frustration of the discovery

process by giving the frustrated party or parties the benefit of an

inference that the deposition would have yielded evidence favorable

to its position – or at least unfavorable to that defendant.


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Moore’s Federal Practice – Civil § 37.96 (2009).              Further, this

Court recognizes that the parties’ taking the deposition could and

likely would have requested authentication of documents identified

by the notice of deposition in the course of that proceeding.              See

Sprint Comm. Co. L.P. v. Theglobe.com, Inc., 236 F.R.D. 524, 528

(D. Kan. 2006).       This Court concludes that it can also provide

relief from the designee’s failure to appear with respect to this

issue by refusing to allow the errant corporation to deny that such

documents are authentic.

      The various parties have briefed this issue extensively but,

frankly, the Court finds that the issues raised by the motion of

whether to sanction Defendant GeoStar are quite simple.               GeoStar

was provided a list of topics upon which its designee was to

provide testimony at a deposition.            GeoStar had discretion in

selecting its designee or designees.         A selected designee appeared

and decided, after a single day of questioning, to walk out of the

deposition rather than proceed as noticed.                 Geostar has not

disputed these facts and does not deny that the moving parties have

been prejudiced by them with respect to the preparation of their

claims and defenses.

      Rather, GeoStar spends the bulk of its briefs in response to

the various requests for relief arguing that the movants are

seeking what is essentially a default judgment against it.              While

that may well be the result of the sanctions requested, GeoStar


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misses the point.         GeoStar was given an opportunity to provide

evidence in this case, including evidence that would arguably

support its defenses.          GeoStar’s failure to produce a designee to

provide that evidence means that, if Geostar is unable to offer a

defense due to limitations on what evidence it can now offer in

support of its claims and defenses, it was the master of its own

fate at the deposition.          Put another way, GeoStar made its own bed

and must now lie in it.

       The Court finds that it is only fair that GeoStar itself be

precluded from disputing the authenticity of documents appearing to

have   been     created   or   received   by   GeoStar    or   its   agents,    as

requested by Plaintiffs. Further, the limited testimony offered by

GeoStar’s designee may be used with respect to any admissions in

that testimony against GeoStar itself.                    The more difficult

question is what to do with any inferences that can be drawn from

testimony actually offered or anticipated from the designee that

speaks to other Defendants or cross- or third-parties in these

matters.      In the context of allegations of conspiracy, this is

particularly troubling – for GeoStar’s knowledge and actions can be

imputed    to    anyone   else    who   demonstrably     participated   in     the

conspiracy.      That said, the Court believes that any issue in this

regard can be straightforwardly remedied by estopping GeoStar from

denying the assertions set forth by Plaintiffs and the other

parties to this motion.


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      Frankly, the proponents of the facts which are to be inferred

from GeoStar’s silence will still need to provide some evidence

from which these inferences themselves can be drawn in order for

them to be accepted as established with respect to parties other

than GeoStar.      Thus, for example, a party would need to show some

evidence to the Court that GeoStar “entered into sham leases with

Buffalo     Ranch,”   see   proposed    inference     (d)   in   Plaintiff’s

Memorandum of Law, in order to assert that fact against Buffalo

Ranch.      Then, the parties other than GeoStar may still marshal

evidence in support of their claims and defenses and remain free to

challenge the inferences that touch on the claims against them

using the evidence available to them to the extent that the

inference speaks to their action or inaction, even if GeoStar

itself cannot.

      In    this   instance,   the   Court   concludes   that    the   fairest

resolution is to sanction Geostar by prohibiting GeoStar, and

GeoStar alone, from presenting evidence that would deny any of the

assertions (a) through (s) set forth in the Plaintiff’s Memorandum

in Support of its Motion for Sanctions and those set forth in

paragraphs (1) through (13) in the Memorandum in Support of Joinder

in the Plaintiffs’ Motion filed by the Plummers, Buffalo Ranch, and

Zeus Investments.

      Accordingly, IT IS ORDERED:

      (1)    that the Plaintiffs’ Motion for Sanctions and the Motion


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to Join that Motion for Sanctions, albeit in a limited fashion, by

Defendants S. David Plummer II, Spencer D. Plummer, III, Strategic

Opportunity     Solutions,     LLC   d/b/a       Buffalo     Ranch,    and   Zeus

Investments,    and    their   Request     for   Additional     Sanctions2      are

GRANTED as set forth below;

      (2)   that GeoStar Corporation is precluded from disputing the

authenticity    of    documents   appearing      to   have    been    created   or

received by GeoStar or its agents;

      (3)   that the testimony offered by GeoStar Corporation’s

designee may be used by any party only insofar as it contains

admissions against GeoStar itself and as offered against GeoStar;

      (4)   that GeoStar Corporation is estopped from denying the

assertions set forth by Plaintiffs and the other parties to this

motion in paragraphs (a) through (s) of Plaintiff’s Memorandum in

Support of its Motion for Sanctions and paragraphs (1) through (13)

in the Memorandum in Support of Joinder in the Plaintiffs’ Motion

filed by the Plummers, Buffalo Ranch, and Zeus Investments;

      (5)   that these motions as filed in 5:09-cv-15 [DE 76, 78] are

DENIED AS MOOT; and

      (6)   that the Plummer parties’ Motion is STRICKEN from 5:09-

      2
        These motions can be found in the records of these matters
as follows: 5:06-cv-243 [DE 385, 391], 5:07-cv-347 [DE 141, 146],
5:07-cv-348 [DE 151, 153], 5:07-cv-349 [DE 169, 171], 5:07-cv-351
[DE 65, 67], 5:07-cv-352 [DE 78, 81], 5:07-cv-353 [DE 1061, 1080],
5:07-cv-419 [DE 116, 118], 5:08-cv-17 [DE 43], 5:08-cv-53 [DE 216,
222], 5:08-cv-60 [DE 34, 36], 5:08-cv-74 [DE 42], 5:08-cv-321 [DE
120, 124], 5:08-cv-418 [DE 30], 5:08-cv-496 [DE 85].

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cv-167 [DE 14], as it appears that the parties did not intend to

file the motion in that individual case.

      This the 4th day of April, 2012.




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